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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  KEITH STANSELL, et al.,

               Plaintiffs,
  v.                                                  Case No. 8:09-cv-2308-T-36AAS

  REVOLUTIONARY ARMED FORCES
  OF COLOMBIA, et al.,

              Defendants.
  _______________________________________/

                        REPORT AND RECOMMENDATION

        The plaintiffs move for turnover judgment against Ocean Bank under the

  Terrorism Risk Insurance Act (Terrorism Act). (Doc. 1185). The plaintiffs complied

  with necessary requirements to obtain a garnishment judgment under the Terrorism

  Act and Chapter 77, Florida Statutes.         So, the plaintiffs’ motion should be

  GRANTED.

  I.    BACKGROUND

        The plaintiffs obtained a judgment for $318,030,000 in compensatory damages

  against the Revolutionary Armed Forces of Colombia (FARC) and many individuals

  because of an international act of terrorism that occurred in 2003. (Docs. 1, 233). The

  plaintiffs then began trying to collect on their judgment.

        The plaintiffs moved for writs of garnishment against Aero Continente’s assets

  at Ocean Bank. (Doc. 314). In their motion, the plaintiffs argued Aero Continente is

  a Specially Designated Narcotics Trafficker under the Foreign Narcotics Kingpin

  Designation Act (Kingpin Act), 21 Section 1904(b). (Id.). The plaintiffs also argued


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  Aero Continente is an instrumentality of the FARC under Section 201(a) of the

  Terrorism Act, 28 U.S.C. 1610. (Doc. 314).      After finding Aero Continente is a

  Specially Designated Narcotics Trafficker and an instrumentality of the FARC, the

  court granted the plaintiffs’ writs of garnishment against Aero Continente’s assets at

  Ocean Bank. (Doc. 322).

        In 2013, the Eleventh Circuit held that assets frozen under the Kingpin Act

  were not “blocked assets” under the Terrorism Act. Stansell v. Revolutionary Armed

  Forces of Colom., 704 F.3d 910 (11th Cir. 2013) (Stansell I). As a result, the court

  stayed execution on the writs of garnishment issued against Aero Continente’s assets

  at Ocean Bank. (Docs. 562, 592).

        In 2018, Congress enacted a law, which states that “blocked assets” under the

  Terrorism Act now include assets frozen under the Kingpin Act. Anti-Terrorism

  Clarification Act of 2018, Pub. L. No. 115-253, https://www.congress.gov/bill/115th-

  congress/senate-bill/2946/text. The plaintiffs then moved for a writ of garnishment

  against Aero Continente’s assets, which were frozen under the Kingpin Act, at Ocean

  Bank. (Doc. 1161). Finding the plaintiffs demonstrated Aero Continente’s assets at

  Ocean Bank could be executed under the amended Terrorism Act, the November 13th

  order granted the plaintiffs’ motion for a writ of garnishment. (Doc. 1166).

        Following the November 13th order, the plaintiffs began the process to obtain

  judgment against Ocean Bank for Aero Continente’s blocked assets, which this report

  will now address.




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  II.   ANALYSIS

        State law on executing judgments governs in federal-court proceedings. Fed.

  R. Civ. P. 69(a)(1). Chapter 77, Florida Statutes, governs garnishment proceedings

  in Florida. Fla. Stat. §§ 77.01–77.28. Judgment creditors seeking to execute on

  judgments under the Terrorism Act must follow Chapter 77, Florida Statutes.

  Stansell v. Revolutionary Armed Forces of Colom., 771 F.3d 713, 729–30 (11th Cir.

  2014) (Stansell II).

        To determine whether the plaintiffs are entitled to turnover judgment against

  Ocean Bank under the Terrorism Act, the court must determine whether the

  plaintiffs complied with Chapter 77, Florida Statutes.

        A.     Procedure to Obtain Default Judgment in Garnishment

        After obtaining a money judgment, the plaintiff must file a motion that states

  the amount of the judgment. Fla. Stat. § 77.03. After they obtained their judgment

  against the defendants, the plaintiffs filed a motion that stated the amount of their

  judgment. (Doc. 314). So, the plaintiffs satisfied Section 77.03, Florida Statutes.

        The writ of garnishment issued must require the garnishee to serve an answer

  within twenty days after the plaintiff serves the writ. Fla. Stat. § 77.04. The writ

  must state the amount listed in the plaintiff’s motion for writ of garnishment. Id.

  The plaintiffs’ writ of garnishment required Ocean Bank to answer within twenty

  days, and the writ stated the amount listed in the plaintiffs’ motion for writ of

  garnishment. (Doc. 1167). The plaintiffs satisfied Section 77.04, Florida Statutes.

        The plaintiff must mail, via first class, a copy of the writ of garnishment and a



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  copy of the motion for writ of garnishment to the defendant’s last known address

  within five business days after the writ is issued or three business days after the writ

  is served on the garnishee, whichever is later. Fla. Stat. § 77.041(2). The plaintiff

  must file a certificate of service showing the garnishee was properly served. Id.

        The United States Marshal served Ocean Bank the writ of garnishment on

  November 20, 2018. (Doc. 1172, p. 1; Doc. 1182, p. 1). The plaintiffs mailed Aero

  Continente, via first class, a copy of the writ of garnishment and a copy of the

  plaintiffs’ motion for writ of garnishment within three days of the U.S. Marshal

  serving Ocean Bank (November 21st). (Doc. 1172). The plaintiffs filed a certificate

  verifying proper service. (Id.). The plaintiffs therefore satisfied Section 77.041(2),

  Florida Statutes.

        Within five days after the garnishee serves its answer, the plaintiff must mail

  to the defendant a copy of the garnishee’s answer and a notice advising the defendant

  that it has twenty days to move to dissolve the writ of garnishment. Fla. Stat. §

  77.055. The plaintiff must mail those documents to the defendant’s last known

  address and any other address disclosed by the garnishee’s answer. Id. And the

  plaintiff must file a certificate showing the defendant was properly served. Id.

        Ocean Bank answered the plaintiffs’ writ of garnishment on December 7, 2018.

  (Doc. 1182). Less than five days later, the plaintiffs mailed the documents listed in

  Section 77.055, Florida Statutes, to Aero Continente’s last known addresses. (Docs.

  1182, 1183). And the plaintiffs filed a certificate showing it complied with Section

  77.05, Florida Statutes.    The plaintiffs therefore complied with Section 77.055,



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  Florida Statutes.

        If the defendant disputes the garnishee’s answer to the writ of garnishment,

  the defendant must move to dissolve the writ within twenty days after service. Fla.

  Stat. § 77.07.   If the defendant fails to timely move to dissolve the writ, “the

  proceedings shall be in a default posture as to the party involved. § 77.07.

        Ocean Bank’s answer was served on Aero Continente on December 10, 2018.

  (Doc. 1183). Aero Continente failed to timely move to dissolve the plaintiffs’ writ of

  garnishment. As a result, under Section 77.07, Florida Statutes, these proceedings

  are now in a default posture.

        B.     Default Judgment and Garnishee’s Liability

        If the defendant fails to reply to the garnishee’s answer, the garnishee’s answer

  is considered true and “the garnishee is entitled to an order discharging [it] from

  further liability under the writ.” Fla. Stat. §§ 77.061, 77.082. The court must enter

  final judgment against the garnishee for the amount disclosed in its answer. § 77.081.

        Aero Continente never replied to Ocean Bank’s answer; nor did Aero

  Continente move to dissolve the writ of garnishment. The plaintiffs are therefore

  entitled to a default judgment in garnishment against Ocean Bank for $928,756.29

  (the amount disclosed in Ocean Bank’s answer).          Ocean Bank should also be

  discharged from any further liability under the plaintiffs’ writ.

        C.     Garnishee’s Attorney’s Fees, Costs, and Expenses

        The party moving for writ of garnishment must pay $100 to the garnishee for

  attorney’s fees expended on responding to the writ. Fla. Stat. § 77.28. Additionally,



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  after entering final judgment, the court must determine the garnishee’s costs and

  expenses, including reasonable attorney’s fees. Id. If judgment is in the plaintiff’s

  favor, the amount of the judgment “is subject to offset by the garnishee against the

  defendant whose property or debt owing is being garnished.” Fla. Stat. § 77.28. The

  court must tax the garnishee’s costs and expenses as costs. Id. Stated differently,

  any judgment-debtor property turned over to the judgment creditor is reduced by the

  garnishee’s costs.   Suntrust Bank v. Arrow Energy, Inc., 199 So. 3d 1026, 1028–29

  (Fla. 4th Dist. Ct. App. 2016); see also Kearney Constr. Co. LLC v. Travelers Cas. &

  Sur. Co. of Am., No. 8:09-CV-1850-T-30TBM, 2018 WL 748898, at*2 (M.D. Fla. Jan.

  23, 2018) (entering final judgment in garnishment subject to offset for garnishee’s

  attorney’s fees).

         Under Section 77.28, Florida Statutes, the plaintiffs must pay Ocean Bank

  $100 for attorney’s fees expended on responding to the writ. Further, Section II(B)

  concluded the court should enter final judgment against garnishee Ocean Bank in the

  plaintiffs’ favor. So, Ocean Bank may offset the amount it owes the plaintiffs by its

  reasonable costs and expenses, including attorney’s fees. If the plaintiffs and Ocean

  Bank cannot agree on Ocean Bank’s costs and expenses, including attorney’s fees, the

  court should require Ocean Bank to submit a motion for its costs and expenses under

  Section 77.28 within fourteen days of the court’s order on this report.

         D.     Ocean Bank’s Specific Requests

         In its answer, Ocean Bank includes the following requests:

         Garnishee requests that any order compelling the turnover of the
         garnished funds in the Blocked SDNTK account should include a specific


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        determination that the funds reported in this Answer have been
        identified as SDNTK blocked assets, that the funds must be turned over
        by the Garnishee pursuant to the Terrorism Act, and that no OFAC
        license is required to turn over the garnished funds to Plaintiffs.

  (Doc. 1182, p. 4). The plaintiffs include the same requests in their motion for turnover

  judgment under the Terrorism Act. (Doc. 1185, p. 9).

        The court previously determined the following: Aero Continente is a Specially

  Designated Narcotics Trafficker under the Kingpin Act; Aero Continente’s assets at

  Ocean Bank are blocked assets under the Kingpin Act; and Aero Continente’s assets

  at Ocean Bank are subject to execution under the newly amended Terrorism Act. (See

  Doc. 1166, pp. 4–5) (summarizing relevant factual findings, which constitute the law

  of this case). Ocean Bank’s and the plaintiffs’ request to include these determinations

  in the court’s order are therefore appropriate.

        However, the request for a determination that no OFAC license is required to

  execute blocked assets under the Kingpin Act appears inappropriate.

        Judgment creditors seeking to execute property under the Kingpin act must

  obtain a license from OFAC. Stansell II, 771 F.3d at 734 (citations omitted); see also

  Doe v. JPMorgan Chase Bank, N.A., 899 F.3d 152, 158 (2d Cir. 2018) (footnote and

  citations omitted) (stating applicable OFAC regulations “unambiguously prohibit

  unlicensed transfers of blocked assets”).

        To support their request for finding no OFAC license is required in this

  circumstance, the plaintiffs cite a 2006 letter from the United States Attorney’s Office

  from the Southern District of New York. (Doc. 1185). That letter states that funds

  subject to the Terrorism Act may be distributed without an OFAC license. (Doc. 251-


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  4). That letter, however, predates Stansell II and the newly amended Terrorism Act,

  which now allows assets blocked under the Kingpin Act to be executed. (See Doc.

  1166) (discussing effects of newly amended Terrorism Act).

        Further, the OFAC regulations Stansell II discussed (which required an OFAC

  license to execute property) contain the same language today that the regulations had

  when Stansell II issued. Stansell II, 771 F.3d at 734; 31 C.F.R. §§ 598.205, 598.314(b)

  (2014 and 2018).     So, although the newly amended Terrorism Act now allows

  judgment creditors to execute assets blocked under the Kingpin Act, the regulations

  appear to still require the judgment creditor, who wants to execute Kingpin-Act

  assets, to obtain an OFAC license.

        Considering the OFAC regulations and Stansell II, the court should not

  determine no OFAC license is required to execute assets frozen under the Kingpin

  Act. That said, the OFAC regulations appear to allow judgment creditors to execute

  property before obtaining an OFAC license. See 31 C.F.R. § 598.205(c) (2018) (stating

  an OFAC license issued “before, during, or after a transfer shall validate such

  transfer or make it enforceable”). Therefore, although an OFAC license appears

  necessary to execute Kingpin-Act assets, under the OFAC regulations, the court may

  allow the plaintiffs to execute Aero Continente’s assets at Ocean Bank before

  obtaining an OFAC license.1



  1 Notably, the plaintiffs served OFAC the motion for turnover judgment under the
  Terrorism Act and OFAC failed to dispute the plaintiffs’ and Ocean Bank’s claim that
  no OFAC license is required to turn over Aero Continente’s assets to the plaintiffs.
  (Doc. 1185, p. 10).


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  III.   CONCLUSION

         The plaintiffs complied with Chapter 77, Florida Statutes, and are entitled to

  final judgment in garnishment against Ocean Bank for Aero Continente’s assets

  frozen under the Kingpin Act. Ocean Bank is also entitled to $100 and additional

  reasonable costs and expenses, including attorney’s fees, incurred in responding to

  the plaintiffs’ writ of garnishment. The following is therefore RECOMMENDED:

         1.    The plaintiff’s motion for turnover judgment under the Terrorism Act

               (Doc. 1185) should be GRANTED.

         2.    The court should enter final judgment in garnishment against Ocean

               Bank for $928,756.29, subject to offset for Ocean Bank’s statutory

               attorney’s fees.   The court should require Ocean Bank to submit a

               motion for its statutory costs and expenses, including attorney’s fees,

               within fourteen days of the court’s order on this Report and

               Recommendation if the plaintiffs and Ocean Bank fail to agree on Ocean

               Bank’s statutory costs and expenses.

         3.    The court should order the plaintiffs to pay Ocean Bank $100 under

               Section 77.28, Florida Statutes.

         4.    The court should discharge Ocean Bank from further liability under the

               plaintiffs’ writ of garnishment.

         5.    The court’s order should include the following findings:

               a.    Aero Continente’s assets identified in Ocean Bank’s answer to the

                     writ   of    garnishment     are   Specially   Designated Narcotics



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                          Trafficker Kingpin blocked assets.

                b.        Ocean Bank must turn over Aero Continente’s assets to the

                          plaintiffs under the Terrorism Act.

         ENTERED in Tampa, Florida, on March 25, 2019.




                                     NOTICE TO PARTIES

         Failure     to    file   written   objections   to   the   proposed   findings   and

   recommendations contained in this report within fourteen days from the date of this

   service bars an aggrieved party from attacking the factual findings on appeal. 28

   U.S.C. § 636(b)(1).

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